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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF NEW HAMPSHIRE

UNITED STATES OF AMERICA               )
                                       )
       v.                              )                             No. 1:21-cr-00041-JL
                                       )
IAN FREEMAN, ET AL                     )
_______________________________________)

                  ASSENTED-TO MOTION FOR PROTECTIVE ORDER

       The United States of America, by John J. Farley, Acting United States Attorney for the

District of New Hampshire, moves for a protective order pursuant to Fed. R. Crim. P. 16(d)(1) as

follows:

   1. For purposes of this Motion, the term “discovery” includes all discovery in whatever

format provided by the government to the defense. The term “sensitive discovery” includes

records from financial institutions (including but not limited to banks, credit unions, and virtual

currency exchanges) and copies of electronic devices seized from defendants (including but not

limited to cellular telephones and computers). Sensitive discovery will be identified as such by

the government.

   2. For purposes of this motion, the term “defense team” means defense counsel, defense

counsel’s staff, and anyone directly engaged by defense counsel to assist in preparing and

presenting a defense in this case including expert witnesses, private investigators, and any other

professional consultants participating in preparing the defense. The term defense team does not

include the defendant.

   3. The defendants were charged by a federal grand jury with various crimes including wire

fraud, money laundering, and operation of an unlicensed money transmitting business. The

discovery includes voluminous financial records which contain the PII of defendants, witnesses,
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victims of scams, and other targets of the investigation. Investigations into additional individuals

remain ongoing. Due to the sensitive nature of the materials being provided, the United States

requests that the Court enter an order directing that the defendants and defense team maintain the

confidentiality of certain information being provided in discovery. Rule 16(d)(1) states that, Athe

court may, for good cause, deny, restrict, or defer discovery or inspection, or grant other

appropriate relief.@ Fed. R. Crim. P. 16(d)(1).

        4.        Accordingly, the United States requests that the Court issue a protective order

directing that:

        (A)       The discovery, including sensitive discovery, shall be used by the defendants and

        the defense team only as necessary to prepare and present a defense in this case.

        (B)       Defense counsel shall provide copies of the discovery only to other members of

        the defense team and the defendants.

        (C)       The defense team and defendants shall not further disseminate discovery

        including sensitive discovery or disclose to others the contents of the discovery without

        further order of the Court, which defense counsel may seek ex parte.

        (D)       The defense team shall not provide copies of sensitive discovery to defendants or

        anyone outside the defense team. The defense team may review copies of sensitive

        discovery with defendants but may not allow defendants to copy or disseminate any

        information in the sensitive discovery.

        (E)       The defense team shall redact all PII, defined as the information identified in Rule

        49.1(a) of the Federal Rules of Criminal Procedure, from discovery before presenting any

        discovery publicly, for example, as an exhibit in Court.
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       (F)      Should either party seek clarification or modification of this order, they are

       ordered to consult with each other in the first instance. This order may be amended at any

       time by agreement of the parties. If informal efforts to reach an agreement fail, any party

       may seek modification of the order, which the Court may in its discretion grant, after

       allowing all parties an opportunity to respond.

The defendants, through counsel, agree to the proposed protective order.

                                                      Respectfully submitted,

                                                      JOHN J. FARLEY
                                                      Acting United States Attorney

                                                      /s/ Georgiana L. MacDonald
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